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LEADERSHIP FOUNDATION

 

New Community Leadership Foundation
1560 Turk Street # 123
San Francisco, CA 94115-4645
www.NewCLF.com

February 16", 2017

Joaquin Torres

Deputy Director

Office of Economic and Workforce Development (OWED)
One South Van Ness Ave.

San Francisco, CA 94103

RE: Seven Critical Amendments for Current RFP for the Fillmore Heritage Center
Dear Joaquin Torres:

We have serious concerns regarding the Request for Proposal (RFP) for the Fillmore
Heritage Center issued on 02-10-17. We would like to meet with you at your earliest
convenience to discuss the content of this letter. We want to first thank you and
acknowledge that the RFP language recognizes that the Fillmore is an historically Afro-
American neighborhood impacted by “urban renewal.” However, the City and RFP
language admitting that a wrong was done by the government to the Afro-American
community in Fillmore but doing nothing strategic to address it, carries no weight. A list
of seven critical amendments that we identified must be made to this RFP. The list is
numbered 1-7 below. It would be offensive to the community for OEWD to continue with
this RFP the way it is laid out.

As you know, this is the City’s second RFP for the same parcel of land. The first RFP
was Issued and then built by 2007. The winner of the RFP was the developer Michael
Johnson. At the time, the land was undeveloped. It was a huge gated-off empty lot that
lay barren for decades. It was part of 60 square blocks that were bulldozed in the
Fillmore by “Urban Renewal’ during the 1960s and 1970s. Back then 18,000 thousand
Fillmore residents were displaced and thousands of Afro-American businesses were
forced to close most never opened again. Afro-American start-ups and emerging
businesses were told by the government they are not welcomed in San Francisco. City
Hall told the Afro-American community in the 1970s-1980s that once the land was
rebuilt the community would be able to reopen their businesses. This never happened
because the government let the land stay vacant for decades. The government finally
decided to roll out RFPs for the land but stacked the deck against the local Afro-
American community. Then the “Urban Renewal” program turned around and practically

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gave the land away to outside corporations or private investors. This was the last piece
of empty land to be developed from that era. The community waiting the longest to do
business in Fillmore will not be denied.

It is widely excepted that the first RFP by the City was a complete failure. The
businesses and the community benefit failed. Yoshi's was not able to pay rent to the
developer/owner Michael Johnson. As a result Mr. Johnson did not have money to pay
back loans to banks and City Hall. In 2012 after only 6 years of operations Yoshi's filed
for bankruptcy. The City loaned Yoshi’s millions in tax dollars that will be lost. These
funds were intended to benefit the Fillmore and poured into this Yoshi's development.
Now all these funds are lost.

The Community Benefit Plan of the first RFP was a complete failure from the start. See
the bullet points below. They represent all the failed promises from the City to the
community about what this development would bring to the neighborhood. This dealt a
serious blow to the Fillmore community's hopes that the development would play a part
to help restore a portion of the economic benefits the Black culture and jazz uprooted by
Urban Renewal.

First RFP Results Failed the Community from the Start to Finish (2007-2015)

e The “Job Training and Hiring Program” and the “Job Training Internship Program”
which was intended to create numerous employment opportunities at all levels
for disadvantaged individuals did not succeed as hoped;

e Even hiring local residents with experience in culinary arts, bartending, restaurant
positions, back stage positions and entertainment management were minimal;

e The local community has been left out of its own legacy as it relates to having a
say in what Jazz, Blues, R&B and even Hip Hop entertainment was performed in
the Yoshi’s club and restaurant:

e Even Yoshi's attempts to work with grassroots artists seem to target people new
to the neighborhood while excluding lifelong residents, not to mention Yoshi's
10 year anniversary CD celebrating its Oakland site did not include a single
African American artist:

e “Food for Soul’ restaurant, also known as 1300, which was intended to function
at least part of the time as a multi-purpose meeting space and be available for
community meetings, workshops and potential program activities did not meet
their goals;

e Infact, most local residents were priced out of 1300 restaurant because of its
exorbitant prices;

e Supporting the start-up of small businesses on the ground level or lobby area for
business “Certificate of Preference” holders and local residents did not happen in
an impactful way;

e The Lush Life Gallery that occupied the ground level facing Fillmore Street was
rarely open and did not conduct consistent or authentic marketing to attract locals
and tourists which essentially squandering one of the few opportunities for local
artists to promote their music and merchandise;

e Another disappointment was the lack of local participation in the construction of
the development.

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e The high price of the condominiums which made it practically impossible for
working or middle class renters or “Certificate of Preference” holders from
Fillmore to participate in the homebuyers’ assistance program;

e The Screening Room was not managed in the way the community hoped for or
even the way it was intended;

e The Screening Room programing and education workshops were scarce.

e Many local residents and artists did not know The Screening Room even
existed. For local professionals and artists that were aware of the space, often it
was extremely difficult to locate the contact person to reserve the space. Locals
and tourists alike desire an authentic experience; and

e In 2015 the garage was looking $10,000 per month, per The New Fillmore
newspaper. It is our understanding that tax dollars are footing this bill.

We do not want to make the same mistakes that happened during the first RFP with this
second RFP.

Seven Critical Amendments needed for current RFP issued on Feb. 10, 2017 by
OEWD

1) Replace the terms "minority and women", and specify Afro-Americans and those
disenfranchised by Urban Renewal:

e Not all minorities were impacted by The Redevelopment Agency in the Fillmore.
The primary community affected were “African-Americans". This reality has to be
spoken for. "African Americans" impacted by urban renewal need to be added
into this R.F.P. with strong language.

e African Americans and Japanese men and women were disenfranchised by
Redevelopment in the Fillmore. We desire the language within the RFP to specify
and emphasize these groups. Saying "women and minorities" alone is far too
vague and allows the chance of the most impacted minority group to be
overlooked. One could use this language as a loophole and stay in compliance
with the RFP by simply servicing Asian or White women.

2) Take out below market rate and add in low-income rate:

e The Black community in Fillmore was a new, thriving and up and coming
destination spot in the 50’s and 60’s. There were strong indicators the economic
potential of Black culture was similar to that of Chinatown and North Beach. All
this was thwarted by the Redevelopment Agency.

e Forty years of systematic government destruction of the Afro-American
community’s economic base in Fillmore left this community economically
depressed.

e The current market rate is very high and the term below market rate is
another potential loophole. If the market rate is $3000 and you lower it to $2500
this is in compliance with the RFP's phrasing but still excludes low income
residents. The rates should be set in a way to meet the community where they
are at economically in order to bring the community back up economically. The
term "Income based" should be used or a terminology specifying the price for
these rentals will be appropriately reduced as to be accessible for low income
residents.

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3) Job creation does not specify who and it should specify Afro-American residents
impacted by Urban Renewal:

e All Black residents born and raised in Fillmore were impacted by urban renewal.
Whether they were born yesterday or in the 1950’s. The devastating condition of
poverty and blight that the Urban Renewal left the community in created social,
physical and spiritual scars. It left our community in a state of economic ruin. In
the 1940s-1960’s most San Francisco businesses discriminated against
Black workers, but in Fillmore many small Black business owners were able to
hire Black people. At the time the City did not enforce hiring quotas for affirmative
action. Instead of supporting Black businesses hiring Black people, the
government bulldozed most of those Black business in the Fillmore
and caused the community to economically starve.

4) The developer should work with 5-10 nonprofits to act as liaison to the community:

5) The developer will purchase the Ellis Street walkway for the community and change
the name of the street into “Community Way”.

6i) Extend the time between when the RFP is issued and when it’s due date. There
should be at least a 90-day window. Currently there is a window a little less than 2
months.

7) Sell the Gallery, Screening Room and Garage individually to create more ownership
opportunities and more reachable prices for Afro-Americans and other communities
impacted by “urban renewal.”

Thank you for your time in reading this letter. We would like to meet with you at your
earliest convenience. Please feel free to contact Majeid Crawford by email,
majeidcrawford@gmail.com, or phone at 415-424-0155 for any questions, comments or
to schedule a meeting.

Sincerely,

Hugh E MC
Executive Director

Majeid Crawford
Board President

Jameel Rasheed Patterson
Board Vice President

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